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                           IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
                                    ROANOKE DIVISION

 RILEY AMORE and CAROLINE PARKER,

         Plaintiffs,

 v.
                                                      Case No. 7:25-cv-00229-EKD-CKM
 AMERICAN ASSOCIATION OF
 VETERINARY CLINICIANS et al.,

             Defendants.


                            MOTION FOR ADMISSION PRO HAC VICE
                                 OF CHRISTOPHER C. YOOK

        Kevin J. O’Brien, a member in good standing of the bar of this Court, respectfully moves

this Court for the admission pro hac vice of Christopher C. Yook to serve as co-counsel for

Defendants VCA Animal Hospitals, Inc. and BluePearl Operations, LLC in this matter. In support

of this request, movant states as follows:

        1.        Christopher C. Yook is qualified and licensed to practice law in the State of

Maryland and the District of Columbia. His Maryland bar number is 1112150306 and his District

of Columbia bar number is 1021978.

        2.        Mr. Yook practices with the law firm of King & Spalding LLP, maintaining

a business address at 1700 Pennsylvania Avenue, NW Suite 900 Washington, DC 20006.

        3.        Mr. Yook has been admitted to practice and is in good standing in the following

federal courts:

                               Court:                                 Admission Date:
 U.S. Court of Appeals for the Federal Circuit                              2015
 U.S. Court of International Trade                                          2015
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 U.S. District Court for the Eastern District of Michigan                     2015
 U.S. District Court for the District of Maryland                             2025


       4.      Mr. Yook has not previously sought admission pro hac vice in the U.S. District

Court for the Western District of Virginia.

       5.      Mr. Yook’s contact information is as follows:

                               Christopher C. Yook
                               KING & SPALDING LLP
                               1700 Pennsylvania Avenue NW, Suite 900
                               Washington, DC 20006
                               Tel: (202) 737-0500
                               Fax: (202) 626-3737
                               cyook@kslaw.com

       WHEREFORE, movant requests the entry of an order admitting Mr. Yook to practice pro

hac vice as co-counsel for Defendants VCA Animal Hospitals, Inc. and BluePearl Operations,

LLC.

                                                    Respectfully submitted,

May 8, 2025                                         /s/ Kevin J. O’Brien
                                                    Kevin J. O’Brien (VSB No. 78886)
                                                    KING & SPALDING LLP
                                                    1185 Avenue of the Americas, 34th Floor
                                                    New York, NY 10036-2601
                                                    Phone: (212) 827-4088
                                                    kobrien@kslaw.com

                                                    Counsel for VCA Animal Hospitals, Inc. and
                                                    BluePearl Operations, LLC




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